
6 N.Y.2d 1001 (1959)
In the Matter of Bernard M. Bloom et al., Respondents,
v.
James M. Power et al., Constituting the Board of Elections of the City of New York, et al., Respondents, and Manuel J. Steinberg et al., Appellants.
Court of Appeals of the State of New York.
Argued September 11, 1959.
Decided September 11, 1959.
Norman J. Steinberg and Lewis Abrahams for appellants.
Harold L. Fisher for petitioners-respondents.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FROESSEL, FOSTER[*], BOOKSTEIN[*] and MacAFFER[*].
Order affirmed; no opinion.
NOTES
[*]  Designated pursuant to section 5 of article VI of the State Constitution in the temporary absence of Judges FULD, VAN VOORHIS and BURKE.

